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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION
UNITED STATES OF AMERICA,               )


v.                   )                      Case No. CR406-39 0

WAYNE EDWARD SPRINGFIELD, )
AKA "MICHAEL E . SPRINGFIELD," )
TARA ANTIONETTE JOHNSON, )

      Defendants .

                                  ORDER

      Let a copy of this Report and Recommendation be served upon counsel for

the parties . Any objections to this Report and Recommendation must be filed with

the Clerk of Court not later than April 30, 2007 . The Clerk shall submit this

Report and Recommendation together with any objections to the Honorable B .

Avant Edenfield, United States District Judge, on May 1, 2007 . Failure to file an

objection within the specified time means that this Report and Recommendation

may become the opinion and order of the Court, Nettles v. Wainwright , 677 F .2d

404 (5th Cir . 1982), and further waives the right to appeal the District Court's

Order . Thomas v . Arn, 474 U.S. 140 (1985) .

      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the District
Judge to whom this case is assigned .

      SO ORDERED this day of April, 2007 .

                                                  UNITED S1 AT' S MAGISTRATE JUDGE
                                                  SOUTHER DISTRICT OF GEORGIA
